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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:inrethepeopleofthestateofcoloradovbrowncaseno2021sa79500p3d384filedmay27,2021" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;500 P.3d 384&lt;/span&gt; (Mem)&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;In Re: The &lt;span class="ldml-name"&gt;PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;George BROWN&lt;/span&gt;, &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No: 2021SA79&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;DATE &lt;span class="ldml-date"&gt;FILED: May 27, 2021&lt;/span&gt;&lt;/b&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="181" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="181" data-sentence-id="181" class="ldml-sentence"&gt;ORDER OF &lt;span class="ldml-entity"&gt;COURT&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="195" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="195" data-sentence-id="195" class="ldml-sentence"&gt;Upon further consideration of the above captioned matter and now being sufficiently advised in the premises,&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="303" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="303" data-sentence-id="303" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; issued &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;March 11, 2021&lt;/span&gt; Rule&lt;/span&gt; to Show Cause improvidently; therefore,&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="393" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="393" data-sentence-id="393" class="ldml-sentence"&gt;IT IS ORDERED that the original proceeding before &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; is DISMISSED.&lt;/span&gt; &lt;span data-paragraph-id="393" data-sentence-id="468" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; return jurisdiction in this matter to the &lt;span class="ldml-entity"&gt;Eagle County District Court&lt;/span&gt; for further proceedings in the underlying action.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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